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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA


 FAIRHOLME FUNDS, INC., et al.,

                Plaintiffs,

        v.                                      Civil No. 13-1053 (RCL)

 FEDERAL HOUSING FINANCE
 AGENCY, et al.,

                Defendants.


 In re Fannie Mae/Freddie Mac Senior
 Preferred Stock Purchase Agreement Class
 Action Litigations

 __________________                             Miscellaneous No. 13-1288 (RCL)

 This document relates to:
 ALL CASES


                 JOINT SUBMISSION OF DEPOSITION DESIGNATIONS
                           AS PLAYED DURING TRIAL

       The parties hereby submit the transcripts of the testimony presented to the jury by

deposition videos at trial. The transcripts attached are the following:

     1. Mukarram Attari, Ph.D (Exhibit A)
     2. David Benson (Exhibit B)
     3. Joseph Cacciapalle (Exhibit C)
     4. Donald Layton (Exhibit D)
     5. James Lockhart (Exhibit E)
     6. Timothy Mayopoulos (Exhibit F)
     7. Mario Ugoletti (Exhibit G)
     8. Naa Awaa Tagoe (Exhibit H)
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Dated: October 30, 2022                Respectfully submitted,

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